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                                     UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OKLAHOMA


State of Oklahoma,
                                                                  Case No.:      05-cv-329-GKF-SH
                                                  Plaintiff,
vs.                                                               Proceeding:    Evidentiary Hearing
                                                                  Dates:         12/3/2024 – 12/6/2024
                                                                                 12/16/2024 – 12/17/2024
                                                                  Total Time:     29 hours 18 minutes
Tyson Foods, et al.,
                                                                  MINUTE SHEET
                                               Defendants.

Gregory K. Frizzell, U.S. District Judge        K. Perkins, Deputy Clerk              Brian Neil and Leslie Ruiz,
                                                                                      Reporters

Counsel for Plaintiff: Gentner Drummond, Jennifer Lewis, Kristopher Koepsel, Fred Baker, Robert Nance, David
riggs, Louis Bulock, Madeline Becker, Cynthia Solomon, Kristin Hermiz.

Defense Counsel: Gordon Todd, Frank Volpe, Mark Hopson, Ben Mundel, Cody Reaves, Scott McDaniel, Robert
George, Kristy Boehler, K.C. Tucker, John Elrod, Vicki Bronson, John Tucker, Christopher Dolan, Jacob Bylund

Appears in Person:     ☒ Pltf. ☒ Deft. ☒ Parties announce ready ☒ Rule is invoked
                       ☒ Plaintiff presents case in chief with testimony of witnesses
Exhibits admitted:     ☒ Pltf. ☒ Deft. ☒ Plaintiff rests 12/5/2024
                       ☒ Defendant presents case in chief with testimony of witnesses
                       ☒ Defendant rests 12/17/2024

Additional Minutes –

12/3/2024:
Present with counsel for plaintiff, Ken McQueen and Cherokee Nation Attorney General, Chad Harsha. Defense
involved the sequestration of witnesses rule. Plaintiff presented their case in chief. Recess to December 4, 2024 at
9:00 AM.

12/4/2024:
Defense offers exhibits to clarify court’s question at end of the day on December 3rd. Counsel was heard.
Defendants’ exhibit 261 was admitted; exhibit 166 the objection was sustained. Defense counsel stated for the
record their witness to begin their case on Friday morning and will disclose exhibits today. Plaintiff resumed
presentation of their case. Recess to December 5, 2024 at 9:00 AM.

12/5/2024:
Defendants’ shall file a response to The State of Oklahoma’s Motion to Strike Defendants’ Joint Supplemental List
of Witnesses with Summary of Expected Testimony to Patrick Fisk [Doc. 3110] by close of business on 12/6/2024
(date extended, See Doc. 3118). Joint Stipulation Regarding Mendoza’s Offer of Proof was read into the record and
marked as Court Exhibit A. Parties further agree plaintiff can recall Shanon Phillips as stated into the record. By
agreement, plaintiff’s exhibits 48, 123, 130, and Defendants’ exhibits 40, 270, 272 are admitted. Appearance
entered by Jacob Bylund. Plaintiff resumed presentation of their case. Plaintiff rested. Recess to December 6, 2024
at 9:00 AM.

12/6/2024:
Plaintiff’s exhibit 374 admitted without objection. Expert Report of Katie Mendoza November 18, 2024 marked as
Court Exhibit B without objection. Counsel heard as to plaintiff’s objection to defendants’ demonstrative exhibit
006. Defendants’ began presentation of their case in chief. Recess to Monday, December 16, 2024 at 9:00 AM.
   Minute Sheet
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12/16/2024:
Plaintiff’s propose filing findings of fact and conclusions of law with a 25-page limit. Defense propose filing joint
findings of fact and conclusion of law or joint brief with a 50-page limit. Court will consider the proposals.
Defendants’ resumed presentation of their case. Recess to Tuesday, December 17, 2024 at 9:00 a.m.

12/17/2024:
Court sets a deadline of January 30, 2025 for parties to file findings of fact and conclusions of law (or a brief). Page
limit for plaintiff is 25 pages and defendants jointly is 50 pages. Defendants’ resumed presentation of their case.
Defendants proffer Expert Report of Jennifer Benaman and it was marked as Court Exhibit C without objection.
Defendants rested. Plaintiff had nothing further.




                                                                   Court Time:
12/3/2024:      12/4/2024:      12/5/2024:      12/6/2024:      12/16/2024:     12/17/2024:
9:01 – 10:41    9:05 – 10:53    9:02 – 10:42    9:15 – 10:31    9:06 – 10:47    9:10 – 10:24
10:56 – 12:01   11:07 – 12:03   10:57 – 11:41   10:45 – 10:55   11:00 – 12;02   10:38 – 12:03
1:02 – 2:48     1:08 – 2:36     12:42 – 2:24    11:05 – 12:13   1:07 – 2:48
3:03 – 5:03     2:40 – 4:47     2:36 – 3:04     1:16 – 2:30     2:56 – 3:47
                                                                3:52 – 3:59




     Minute Sheet
